                          `UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                 AT GREENEVILLE


  UNITED STATES OF AMERICA                           )
                                                     )
  v.                                                 )             No. 2:15-CR-141
                                                     )
  ANDREW THOMAS RICKER                               )


                              MEMORANDUM AND ORDER

         On August 27, 2020, the Honorable Pamela L. Reeves denied the defendant’s

  motion for compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). [Doc. 38].

  The defendant now moves to set aside Judge Reeves’ order and reconsider his motion in

  light of a reply brief. [Docs. 39, 41]. The defendant states that he would like to file a

  response to the government’s opposition to his motion for compassionate release. He

  acknowledges that any right to file a reply brief is within the trial court’s discretion. [Doc.

  41, p. 2].

         Under Local Rule 7.1(a), the briefing schedule allows for an opening brief, response

  brief, and reply brief. See E.D. Tenn. L.R. 7.1(a). However, reply briefs are not necessary

  unless otherwise stated by the Court. See E.D. Tenn. L.R. 7.1(c). Thus, the Court is not

  required under the Local Rules to allow a party to file a reply brief before ruling on a

  motion. See, e.g., Lauer v. Attentus Healtcare Corp., 2007 WL 3069646 at *1 (E.D. Tenn.

  Oct. 18, 2007) (“Local Rule 7.1(c) establishes that the filing of reply briefs is not a matter

  of right”).




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         Accordingly, because the defendant does not have a right to file a reply, his requests

  for reconsideration and for leave to leave to file a reply brief [docs. 39, 41] are DENIED.

                IT IS SO ORDERED.

                                                           ENTER:



                                                                  s/ Leon Jordan
                                                            United States District Judge




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